
JOINER, Judge.1
Willie Earl Scott appealed the circuit court's summary dismissal of his petition for postconviction relief filed pursuant to Rule 32, Ala. R.Crim. P. Scott's petition challenged his convictions for two counts of capital murder and his resulting sentence of death and his convictions for first-degree rape, attempted murder, and first-degree burglary and his resulting sentences of life imprisonment for each of those convictions. This Court affirmed the circuit court's judgment. Scott v. State, 262 So.3d 1239 (Ala.Crim.App.2010). Scott then petitioned the Alabama Supreme Court for certiorari review. On March 18, 2011, the Alabama Supreme Court held:
"The trial court's verbatim adoption of the State's answer to Scott's Rule 32 petition as its order, by its nature, violates this Court's holding in Ex parte Ingram [, 51 So.3d 1119 (Ala.2010) ]. Accordingly, we must reverse the Court of Criminal Appeals' judgment insofar as it affirms the trial court's adoption of the State's answer as its order, and we remand the case to the Court of Criminal Appeals with directions to remand the case to the trial court for that court to reverse its order dismissing Scott's Rule 32 petition and to enter a new order in light of this opinion."
Ex parte Scott, 262 So.3d 1266, 1274 (Ala.2011).
In accordance with the directions of the Alabama Supreme Court, we remand the case to the circuit court. The circuit court is directed to reverse its order dismissing Scott's Rule 32 petition and to enter a new order in light of the Supreme Court's opinion in Ex parte Scott.
REMANDED WITH DIRECTIONS.*
Welch, P.J., and Windom, Kellum, and Burke, JJ., concur.

This case was previously assigned to another judge on this Court.


Note from the reporter of decisions: On October 6, 2017, on return to second remand, the Court of Criminal Appeals affirmed, without opinion. On November 22, 2017, that court denied rehearing, without opinion. On March 23, 2018, the Supreme Court denied certiorari review, without opinion (1170184).

